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 18
 19                 UNITED STATES DISTRICT COURT
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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 21
 22   SONOS, INC.,                                Case No. 2:20-cv-00169-JAK (DFMx)
 23                  Plaintiff,                   JOINT STATUS REPORT
           v.
 24
      GOOGLE LLC,
 25
                     Defendant.
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  1         Plaintiff Sonos, Inc. and Defendant Google LLC submit this Joint Status
  2   Report pursuant to the Court’s instruction at the June 2, 2025 hearing on Google’s
  3   Motion to For Leave to Amend Answer and Counterclaims (Dkt. 79) (“Google’s
  4   Motion”). At the hearing, on Google’s Motion, the Court ordered the parties to submit
  5   a joint report addressing “the most efficient way to proceed … assuming … leave to
  6   amend the counterclaims … were granted,” including (a) “what’s the most efficient
  7   way to handle what could be other Markman issues and if there are or are not
  8   overlapping with those would be considered” and (b) “how the scheduling of the
  9   Markman process … with respect to the counterclaims if they are added … might
 10   facilitate further discussions with the neutral [mediator].” 2026-06-02 Hr. Tr. at
 11   22:13 – 24:25. Below, the parties set forth their positions on each of these topics.
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  1   Sonos’ Position
  2         Google seeks to add counterclaims for infringement of U.S Patent Nos.
  3   12,132,608 and 9,485,790 (“New Google Setup Patents”). Id. Google argues that
  4   adding these counterclaims would create judicial efficiencies because, in part, two of
  5   the patents already asserted in this case by Sonos relate to similar subject matter:
  6   setting up a new device on a network. See id. Those Sonos patents are U.S. Patent
  7   Nos. 10,439,896 and 10,541,883 (“Asserted Sonos Setup Patents”).1 Sonos opposes
  8   Google’s Motion because, in part, Google has already asserted one of its setup patents
  9   (U.S. Patent No. 11,050,615 (“’615 Patent’”)) in a parallel proceeding in the Northern
 10   District of California. See Dkt. 80. The ’615 Patent is in the same patent family as
 11   the New Google Setup Patents.
 12         The claim construction issues related to the Asserted Sonos Setup Patents have
 13   no bearing on any claim construction issues that may arise related to the New Google
 14   Setup Patents. This is not speculation. The parties have already exchanged proposed
 15   terms and constructions, and engaged in multiple meet-and-confers (both
 16   telephonically and via e-mail) regarding the Asserted Sonos Setup Patents and the
 17   Remaining Sonos Patents. At this point, there are at most 4 claim terms in the
 18   Asserted Sonos Setup Patents that Google is seeking to construe.2 None of those
 19   terms have any relation to terms in the New Google Setup Patents, which use
 20   different claim language and have entirely different intrinsic evidence.
 21         The following table shows the pending claim construction disputes for the
 22   Asserted Sonos Setup Patents.      Contrary to Google’s arguments, there are no
 23   common terms or general concepts between these terms and the claims of the New
 24   Google Setup Patents. And contrary to Google’s representations at the hearing (June
 25   2, 20225 Hr’g Tr. at 11:4-8), the disputed terms have nothing to do with an access
 26
      1
        Sonos asserts 8 other patents in this suit (“Remaining Sonos Patents”).
 27
      2
        The parties continue to meet and confer in an attempt to narrow disputes. Sonos
 28   recently made compromise proposals to Google that would reduce this number to 2.
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  1   point. For the only term that even includes that phrase, Google is merely arguing for
  2   a sequence of steps—nothing to do with the scope or meaning of “access point.”
  3    Term for Construction                Parties’ Current Claim Construction
  4    “an application for controlling [one Sonos: No construction necessary
  5    or more / the] playback devices”
                                            Google: Plain and ordinary meaning, Sonos
  6                                         is incorrectly limiting this term to “an
                                            application for controlling operation of
  7                                         [one or more / the] playback devices after
  8                                         setup”
  9    “while operating on a secure Sonos: No construction necessary
 10    wireless local area network (WLAN)
       that is defined by an access point, (a) Google: Plain and ordinary meaning, which
 11    receiving, via a graphical user includes a sequence of steps
 12    interface (GUI) associated with an
       application for controlling one or
 13    more playback devices, user input
 14    indicating that a user wishes to set up
       a playback device to operate on the
 15    secure WLAN and (b) receiving a
 16    first message indicating that a given
       playback device is available for
 17    setup;
 18
       after receiving the user input and
 19    receiving the first message,
       transmitting a response to the first
 20
       message that facilitates establishing
 21    an initial communication path with
       the given playback device, wherein
 22
       the initial communication path with
 23    the given playback device does not
       traverse the access point”
 24
 25    “initial communication path”            Sonos: No construction necessary
 26                                            Google: “wired or wireless communication
                                               path before transitioning to communicating
 27
                                               via the secure WLAN”
 28
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  1    Term for Construction                  Parties’ Current Claim Construction
  2
       “user input indicating that a user Sonos: No construction necessary
  3    wishes to set up a playback device to
       operate on the secure WLAN”           Google: “an objectively verifiable
  4                                          indication that a user wishes to set up a
  5                                          playback device to operate on the same
                                             secure WLAN used by the computing
  6                                          device” (otherwise, indefinite)
  7
  8
  9         In addition, the Asserted Sonos Setup Patents claim priority to 2004. Google’s
 10   New Setup Patents, on the other hand, claim priority to 2012. So even if there were
 11   similar claims to construe during Markman (there are not), the Court would be tasked
 12   with determining the meaning of such terms from the perspective of ones of ordinary
 13   skill nearly a decade apart. This confirms that there are no overlapping issues, and
 14   no efficiencies to be gained by delaying claim construction to account for the New
 15   Google Setup Patents. Indeed, given the differing intrinsic evidence and priority date
 16   (and therefore extrinsic evidence), conducting an “overlapping” analysis of these
 17   patents could invite legal error.
 18         Google’s position below attempts to start to litigate the merits of claim
 19   construction (and future) disputes. The Court explicitly cautioned against the parties
 20   attempting to do so here. Sonos obviously disagrees with Google’s characterizations.
 21   Suffice to say, Google’s claim-construction arguments grasp at straws and are a
 22   transparent attempt to manufacture disputes to serve Google’s purpose of delay and
 23   confusion. And Google’s dispositive motion arguments have no bearing on the claim
 24   construction schedule question that the Court asked.
 25         As the record reflects, Sonos opposes Google’s motion to add the New Google
 26   Setup Patents in this case. Any claims relating to those patents should be heard in
 27   the Northern District of California, where Google chose to assert the related ’615
 28   Patent. That being said, if the Court were to grant Google’s Motion, Sonos would be
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  1   inclined to file a motion to sever and transfer those claims to the Northern District
  2   (depending, of course, on the substance of the Court’s opinion).3
  3           In the meantime, claim construction for the already-asserted Sonos patents
  4   should continue as planned. The parties have already reached consensus on 14 terms
  5   and narrowed the number of disputes across all ten asserted patents to 11. There is
  6   simply no reason to delay the resolution of those disputes any more than necessary.
  7   Accordingly, Sonos would request that the Court set4 an August 25, 2025 Markman
  8   hearing for both the Sonos Setup Patents and the Remaining Sonos Patents.5
  9           If, after any severance/transfer motion, the New Google Setup Patents were to
 10   remain in this case, the Court should set a separate schedule specific to those patents.
 11   Sonos would need to prepare and serve invalidity contentions, and the parties would
 12   then engage in the claim construction process, as outlined in the SPRs. Given the
 13   time frame that Google was previously afforded for its invalidity contentions, the
 14   deadlines suggested in the SPRs, and already-known scheduling conflicts, Sonos
 15   believes the parties can be prepared for a Markman hearing on November 10, 2025.
 16   Thus, Sonos requests that the Court set a tentative6 Markman hearing, specifically
 17   for the New Google Setup Patents, on or after November 10, 2025. The parties can
 18   then work backwards to propose a full joint schedule based on the tentative hearing
 19   date.
 20
 21
 22   3
        Google takes issue with Sonos not taking a position on whether it will file such a
      motion. But it would be premature for Sonos to decide on a course of action before
 23   seeing any Court order or accompanying discussion.
 24   4
        Sonos would have been prepared to proceed on July 28, 2025, as originally planned,
      but understands that the Court has a scheduling conflict and that August 25 is the first
 25   available date thereafter.
 26   5
        Once the Court sets a new Markman hearing date, the parties can jointly work to
      propose a schedule for final contentions, expert discovery, and motions.
 27
      6
        The hearing is described as “tentative” because it would not be necessary if the
 28   Court severed and transferred the New Google Setup Patents.
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  1         Google suggests that this Court should set a single Markman hearing for
  2   August 25. Doing so would prejudice Sonos by condensing the service of invalidity
  3   contentions and claim construction exchange. Indeed, Sonos served its Second
  4   Amended Complaint on November 26, 2024 and infringement contentions on
  5   February 10, 2025. Google then had until April 24, 2025 to serve its invalidity
  6   contentions – five months from seeing the operative pleading and over 10 weeks from
  7   receiving infringement contentions. Google’s proposal, on the other hand, would
  8   have Sonos serve invalidity contentions a mere 4 weeks after the hearing on Google’s
  9   Motion. There is simply no need to prejudice Sonos on account of Google’s decision
 10   to attempt to bring these late claims.
 11         If the Court concludes that the New Google Setup Patents should be construed
 12   at the same time as the Asserted Sonos Setup Patents, the Court should not delay
 13   resolution of Markman issues on the Remaining Sonos Patents. There can be no real
 14   argument that the New Google Setup Patents have common claim construction issues
 15   to the Remaining Sonos Patents. Google did not argue otherwise in its Motion.7
 16   Sonos should not be forced to put the prosecution of the rest of its claims on hold as
 17   a result of Google’s tactical decision to add counterclaims on the eve of claim
 18   construction. Indeed, allowing Google to delay the progress of Sonos’s case would
 19   be rewarding Google for its (improper) tactical decision and would prejudice Sonos
 20   in one of the exact ways Sonos predicted in its opposition to Google’s Motion.
 21         Moving forward with claim construction on as many Sonos patents as possible
 22   now would also help facilitate settlement proceedings. The ITC already found that
 23   Google infringed 5 of the asserted Sonos patents and that those patents were valid.
 24   The Federal Circuit affirmed. Some of Google’s present claim construction positions
 25   are an attempt to avoid those prior decisions. A claim construction decision in this
 26   case is the next logical inflection point that would have any meaningful impact on
 27
      7
        While Google argues that judicial efficiency would be saved by consolidating to a
 28   single Markman, it does not explain how.
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  1   the parties’ relative settlement positions. Lastly, Google’s suggestion that “the
  2   Google Setup Patents that Google seeks to assert in this case remain a major
  3   unknown” and could impact settlement proceedings is disingenuous at best. The New
  4   Google Setup Patents are substantively very similar to the ’615 Patent Google
  5   asserted in the Northern District of California, which the PTAB and ITC found to be
  6   invalid. In other words, the parties already know that the New Google Setup Patents
  7   are weak.
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  1   Google’s Position
  2         Google proposes a single Markman hearing (compared to Sonos’ request for
  3   two separate Markman hearings) on August 25, 2025 to address all outstanding claim
  4   construction issues for both Sonos’ patents and the Google Setup Patents. In light of
  5   the Court’s schedule, the current July 28, 2025 Markman date is no longer workable,
  6   and moving the hearing to the next available date (August 25, 2025) gives the parties
  7   ample time to exchange disclosures and complete briefing across all patents and for
  8   the Court to decide all claim construction issues in a single Markman hearing.
  9   Moreover, doing so will further prepare the parties for their omnibus mediation on
 10   all pending cases scheduled for August 28, 2025. Thus, the Court can consolidate all
 11   patents into a single schedule, streamline litigation, and facilitate a global settlement,
 12   all without any delay relative to what the schedule would be if this case proceeds on
 13   just Sonos’ patents. Of course, if Sonos indeed needs more time to analyze the Google
 14   Setup Patents, as it contends above, then Google is amenable to proceeding with a
 15   single Markman hearing on Sonos’ preferred schedule (in October or November
 16   2025). But having two Markman hearings, as Sonos requests,8 is inefficient and
 17   increases the Court’s work without any benefit to the Court or the parties.
 18         First, Google’s proposal of a single round of claim construction disclosures
 19   and briefing and a single Markman hearing is necessarily more efficient than Sonos’
 20   proposal of two separate, non-overlapping rounds of claim construction disclosures
 21   and briefing and two separate Markman hearings. As Sonos acknowledges in its
 22   Position, even today the parties continue to confer on the disputed terms, and there is
 23   no practical impediment to the parties addressing all claim construction disputes in a
 24
      8
         Sonos in its position states that it “would be inclined to file a motion to sever and
 25   transfer those claims to the Northern District.” No such motion is currently before
 26   the Court, and considering it at this stage puts the cart before the horse. Indeed, even
      Sonos avoids taking a definitive position on this issue, stating that whether it will file
 27   such a motion “depend[s], of course, on the substance of the Court’s opinion” on
      Google’s motion. Accordingly, Sonos’ arguments based on a hypothetical future
 28   motion that it may or may not file are irrelevant.
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   1   single round of briefing and at a single Markman hearing. Moreover, as a practical
   2   matter, the necessity of complying with the Court’s standing order on term, page, and
   3   hearing time limits across all patents (both Sonos’ patents and the Google Setup
   4   Patent) will further encourage the parties to streamline the issues. And even if the
   5   total number of disputed terms and briefing pages remains the same (which seems
   6   unlikely), there is no denying the judicial efficiency that results from holding just a
   7   single Markman hearing (as Google proposes) instead of two (as Sonos proposes).
   8         Second, there are multiple terms of the Google Setup Patents that overlap with
   9   the Sonos Setup Patents and thus warrant briefing and deciding according to a
 10    consolidated schedule. For example, the term “establishing a short-range signal
 11    transmission path” in the Google Setup Patents should be construed consistent with
 12    the term “establishing an initial communication path” in the Sonos Setup Patents,
 13    including to ensure the definitions are consistent where the terms overlap
 14    (“establishing” and “path”) and account for where they differ (“short-range signal”
 15    in the Google Setup Patents). As another example, the term “independently of the
 16    [WLAN / communication network]” in the Google Setup Patents should be construed
 17    to require “without traversing an access point defining the [WLAN / communication
 18    network],” which will require understanding the nature of Wi-Fi networks that will
 19    also be foundational to resolving the parties’ written description, priority date, and
 20    prosecution latches arguments on the “secure [WLAN] that is defined by an access
 21    point” term in the Sonos Setup Patents. Consolidating claim construction will allow
 22    the Court to streamline deciding these and other overlapping issues.
 23          In its Position, Sonos argues that the claim construction issues this Court will
 24    need to resolve “have nothing to do with an access point” and that claim construction
 25    needs to be analyzed separately because the “Sonos Setup Patents claim priority to
 26    2004.” These arguments have no merit. Construing at least the terms of the Google
 27    Setup Patents will directly implicate the “access point” term, and the same will likely
 28    be true for the parties’ briefing on the “initial communication path” term in the Sonos
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   1   Setup Patents. Moreover, whether the Sonos Setup Patents are entitled to a 2004
   2   priority date (1) is disputed; and (2) irrelevant, since the relevant Wi-Fi technology
   3   (specifically, the existence of two Wi-Fi modes, with and without an access point)
   4   has remained unchanged in relevant part since 2004. Even more importantly, looking
   5   past just the current claim construction phase, Sonos ignores that this “access point”
   6   dispute will permeate the rest of litigation on Sonos and Google’s “dueling” setup
   7   patents. A core question in summary judgment briefing or at trial will be whether
   8   Sonos’ original 2005 specification discloses adding a playback device to “a secure
   9   [WLAN] that is defined by an access point,” or whether Sonos first added this
 10    concept to its claims in 2019 when it filed the applications for the Sonos Setup Patents
 11    (after observing Google’s patents and products). This basic question – did Sonos or
 12    Google first disclose this concept? – is critical because, if Google prevails, then the
 13    Sonos Setup Patents are invalid, and Sonos may be liable for infringing the Google
 14    Setup Patents. And this question does not end with claim construction, as Sonos’
 15    Position incorrectly implies, but will likely be hotly contested every step of the way.
 16          Third, consolidating Google’s counterclaims with Sonos’ claims will force the
 17    parties to flesh out their positions across all patents ahead of their global August 28,
 18    2025 settlement conference with Magistrate Judge McCormick.9 As things stand, the
 19    parties are generally knowledgeable on each other’s positions as they pertain to the
 20    Google patents at issue in the NDCA case and the Sonos patents asserted here, but
 21    the Google Setup Patents that Google seeks to assert in this case remain a major
 22    unknown.10 Including them now in a consolidated schedule will require Sonos to
 23    9
         As addressed below, Google believes all claim construction issues can be resolved
 24    at a single, August 25, 2025 Markman hearing. To the extent Sonos prefers to push
       that hearing to October or November 2025, Google does not object. In that instance,
 25    the parties can discuss whether it makes sense to re-schedule the mediation, too.
       10
 26        Sonos’ contention that the Google Setup Patents are allegedly “weak” is precisely
       why consolidating the cases will make settlement more likely. Google’s position is
 27    that the Google Setup Patents are strong because they include limitations absent from
 28    the previously-litigated ’615 patent and because the patent office found the ’608
       patent claims allowable even after considering all of Sonos’ prior art against the ’615
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   1   serve invalidity contentions and the parties to brief claim construction on those
   2   patents ahead of the August 28, 2025 mediation. The parties can also factor any
   3   guidance from the Court at the August 25, 2025 Markman hearing into their analysis.
   4   The additional information will allow the parties to better objectively assess the
   5   strengths and weaknesses of their cases, which in turn is key to any successful
   6   mediation.
   7         Finally, below is Google’s proposal for addressing all patents in a single,
   8   consolidated schedule. Specifically, Google proposes that the Court schedule a single
   9   Markman hearing on both Sonos’ patents and Google’s setup patents for August 25,
 10    2025, which is the earliest the Court could hold a Markman for this case. Google’s
 11    schedule proposes that Sonos serve its invalidity contentions for the Google Setup
 12    Patents on July 1, 2025,11 the parties identify terms for construction that same day,
 13    and the parties then exchange proposed constructions a week later. From there, all
 14    dates are consolidated. Thus, all subsequent dates in Google’s proposal are the same
 15    as if the August 25, 2025 Markman were just on Sonos’ patents. In other words,
 16    Google’s proposal adds zero delay attributable to addressing Google’s setup patents
 17    on the same schedule, while reaping all the benefits of consolidation.
 18          To the extent Sonos needs more time, as it contends above, Google does not
 19    object to accommodating Sonos’ request and scheduling a single Markman hearing
 20    for October or November 2025. Even under this schedule, pushing the Markman date
 21
       patent. The only way the parties can begin to see eye-to-eye is to start litigating the
 22    Google Setup Patents and for Sonos to serve its invalidity contentions and claim
       construction positions for the same. The fastest way to accomplish that is by adding
 23    the Google Setup Patents to this case.
       11
 24        This is 8 weeks after Google served its infringement contentions for the Google
       Setup Patents (Dkt. 79-4, Exhibit 5). To the extent Sonos has done no work on
 25    invalidity for the Google Setup Patents since then, that is a blunder of its own making.
 26    But even if the relevant timeframe is the 4 weeks since the June 2, 2025 hearing, as
       Sonos contends above, that still ought to be more than enough time for Sonos to
 27    prepare invalidity contentions for the Google Setup Patents, especially since those
       contentions only need to address two related patents Sonos has previously litigated
 28    invalidity of a third family member.
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   1   by a mere two months to benefit from consolidating these claims should have no or
   2   minimal impact on the eventual trial date (which is not even set yet).
   3         Rather than present any workable proposal to effectively litigate this case
   4   “assuming … leave to amend the counterclaims … were granted,” as the Court
   5   requested (2026-06-02 Hr. Tr. at 22:13-25), Sonos seeks to relitigate Google’s
   6   motion by arguing that it would be prejudiced a single Markman hearing regardless
   7   of whether it is held in August 2025 or in October or November 2025. Sonos cannot
   8   have it both ways. For example, if the Court schedules a Markman hearing in October
   9   or November 2025, then trial (and any relief Sonos hopes to obtain at the same) would
 10    be at the same time regardless of whether the Court holds a first, earlier Markman
 11    hearing on just Sonos’ patents in August 2025. In other words, contrary to Sonos’
 12    assertion, holding a single Markman hearing does not delay Sonos’ hoped-for
 13    recovery, and Sonos provides no explanation why any delay in the interim dates
 14    (including a Markman on just Sonos’ patents) would result in any prejudice to Sonos.
 15    Tellingly, when Google offered Sonos an opportunity to propose changes to
 16    individual dates in Google’s proposal, Sonos refused to provide feedback beyond
 17    reiterating its arguments against consolidation
 18     Deadline                                                    Proposed Date
 19     Deadline for service of invalidity contentions re: Google   July 1, 2025
        Setup Patents
 20     Parties to exchange proposed terms for construction re:     July 1, 2025
 21     Google Setup Patents
        Parties to exchange proposed constructions re: Google       July 8, 2025
 22     Setup Patents, including
 23     Parties exchange intrinsic and non-expert extrinsic         July 15, 2025
        evidence and serve opening expert declaration(s).
 24     Parties serve rebuttal expert declaration(s). Such          July 22, 2025
 25     declaration(s) may only be submitted with the party’s
        responsive Markman brief and are limited to rebutting
 26
        opinions in opening expert declaration(s).
 27     Claim Construction Discovery Cut-Off                        July 25, 2025
 28     Joint Prehearing Statement Due                              July 25, 2025

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   1   Simultaneous Opening Markman Briefs Due                     July 31, 2025
   2   Simultaneous Responsive Markman Briefs, Tutorials,          August 14, 2025
       and Presentation Materials Due
   3   Markman Hearing                                             August 25, 2025
   4   Anticipated Ruling to be Issued on Markman Hearing          October 13, 2025
       Patentee’s Deadline to Serve Final Infringement             November 19, 2025
   5
       Contentions, Expert Reports on Issues Where Patentee
   6   has Burden of Proof, all parties serve advice of counsel
       disclosures
   7
       Last day to participate in settlement                       November 26, 2025
   8   conference/mediation
   9   Last day to file a notice of settlement or joint report re: December 1, 2025
       status of settlement
 10    Post Mediation Status Conference                            December 8, 2025
 11    Accused Infringer’s Deadline to Serve Final Invalidity      December 22, 2025
       Contentions, Rebuttal Expert Reports on Issues Where
 12    Patentee has Burden of Proof, and Opening Expert
 13    Reports Where Accused Infringer has Burden of Proof
       Patentee’s Deadline to Serve Rebuttal Expert Reports on January 28, 2026
 14    Issues Where Accused Infringer has Burden of Proof
 15    Discovery Cut-Off                                           February 18, 2026
       Last day to file motions (including discovery motions)      March 4, 2026
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   1   Dated: June 10, 2025              ORRICK, HERRINGTON & SUTCLIFFE LLP
   2                                     and
                                         LEE SULLIVAN SHEA & SMITH LLP
   3
   4                                     By:         /s/ Alyssa Caridis
                                                ALYSSA CARIDIS (SBN 260103)
   5                                           Attorneys for Plaintiff, SONOS, INC.
   6
   7   Dated: June 10, 2025              QUINN EMANUEL URQUHART & SULLIVAN, LLP
   8
   9                                     By:          /s/ Ognjen Zivojnovic
                                               OGNJEN ZIVOJNOVIC (SBN 307801)
 10                                            Attorneys for Defendant, GOOGLE LLC
 11
 12                                FILER’S ATTESTATION
 13          I, Alyssa Caridis, pursuant to Civil Local Rule 5-4.3.4(2)(i), attest that all
 14    other signatories listed, and on whose behalf the filing is submitted, concur in the
 15    filing’s content and have authorized the filing.
 16
 17    Dated: June 10, 2025                       /s/ Alyssa Caridis
                                               ALYSSA CARIDIS (SBN 260103)
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                                                - 15 -            Case No. 2:20-cv-00169-JAK (DFMx)
                                            JOINT REPORT
